Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
10/30/2020 12:08 AM CDT




                                                        - 890 -
                               Nebraska Supreme Court Advance Sheets
                                        306 Nebraska Reports
                                                  BRAUN v. BRAUN
                                                  Cite as 306 Neb. 890



                                        Jennifer J. Braun, appellee, v.
                                         Corey L. Braun, appellant.
                                                    ___ N.W.2d ___

                                         Filed August 21, 2020.   No. S-19-880.

                 1. Contempt: Appeal and Error. In a civil contempt proceeding where
                    a party seeks remedial relief for an alleged violation of a court order,
                    an appellate court employs a three-part standard of review in which (1)
                    the trial court’s resolution of issues of law is reviewed de novo, (2) the
                    trial court’s factual findings are reviewed for clear error, and (3) the trial
                    court’s determinations of whether a party is in contempt and of the sanc-
                    tion to be imposed are reviewed for abuse of discretion.
                 2. Divorce: Judgments: Appeal and Error. The meaning of a divorce
                    decree presents a question of law, in connection with which an appellate
                    court reaches a conclusion independent of the determination reached by
                    the court below.
                 3. Parties: Jurisdiction. If necessary parties to a proceeding are absent,
                    the district court has no jurisdiction to determine the controversy.
                 4. Parties: Words and Phrases. An indispensable party is one whose
                    interest in the subject matter of the controversy is such that the contro-
                    versy cannot be finally adjudicated without affecting the indispensable
                    party’s interest, or which is such that not to address the interest of the
                    indispensable party would leave the controversy in such a condition
                    that its final determination may be wholly inconsistent with equity and
                    good conscience.
                 5. Divorce: Property Settlement Agreements: Final Orders. A decree is
                    a judgment, and once a decree for dissolution becomes final, its mean-
                    ing, including the settlement agreement incorporated therein, is deter-
                    mined as a matter of law from the four corners of the decree itself.
                 6. Contempt: Words and Phrases. Willful disobedience is an essential
                    element of civil contempt; “willful” means the violation was committed
                    intentionally, with knowledge that the act violated the court order.
                 7. Words and Phrases: Appeal and Error. Willfulness is a factual deter-
                    mination to be reviewed for clear error.
                                   - 891 -
           Nebraska Supreme Court Advance Sheets
                    306 Nebraska Reports
                             BRAUN v. BRAUN
                             Cite as 306 Neb. 890
 8. Contempt. In a civil contempt proceeding, for the sanction to retain its
    civil character, the contemnor must, at the time the sanction is imposed,
    have the ability to purge the contempt by compliance and either avert
    punishment or, at any time, bring it to an end.
 9. Contempt: Sentences. The sanction in a civil contempt proceeding is
    both remedial and coercive, and when a jail sentence is imposed as a
    sanction, the contemnor must carry the keys to their jail cells in their
    own pocket.
10. ____: ____. A jail sanction in a civil contempt proceeding is conditioned
    upon the contemnor’s continued noncompliance with the court order,
    and the purge plan must allow the contemnor to mitigate or avoid the
    sanction through compliance.

   Appeal from the District Court for Sheridan County: Travis
P. O’Gorman, Judge. Affirmed.
   Sterling T. Huff, P.C., L.L.O, for appellant.
   Jennifer J. Braun, pro se.
  On brief, Andrew W. Snyder, of Chaloupka, Holyoke,
Snyder, Chaloupka &amp; Longoria, P.C., L.L.O., for appellee.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
   Stacy, J.
   Corey L. Braun appeals from an order finding him in willful
contempt of court for failing to hold his ex-wife, Jennifer J.
Braun, harmless from joint mortgage debt on the marital home
Corey was awarded in the decree. As a sanction, the court
imposed a delayed jail sentence and a purge plan that allowed
Corey to purge himself of contempt by either refinancing the
mortgage in his own name by a date certain or selling the prop-
erty. Finding no error, we affirm.
                      I. BACKGROUND
   Corey and Jennifer were married in 2005. A child was born
to the marriage in 2007, and in 2012, Jennifer filed for divorce.
In the dissolution proceeding, the parties generally agreed on
                              - 892 -
         Nebraska Supreme Court Advance Sheets
                  306 Nebraska Reports
                        BRAUN v. BRAUN
                        Cite as 306 Neb. 890
the equitable division of their assets and debts; a trial was
held on all remaining issues.

                      1. Divorce Decree
   In February 2013, the court entered a decree dissolving
the marriage. As relevant to the issues on appeal, the parties’
marital home in Gordon, Nebraska, was valued at $112,000.
The home was awarded to Corey by agreement of the parties,
subject to the existing mortgage debt. The decree generally
ordered each party to be responsible for the debts associated
with the property they were awarded and to hold the other
harmless from such debt. As relevant to the issues on appeal,
the decree provided: “Debts: [Corey] agrees to hold [Jennifer]
harmless from any debt associated with the property he has
been awarded, including payment of attorneys fees should any
contempt action arise from his failure to hold her harmless of
these debts.”

                  2. Contempt Proceedings
   On January 11, 2019, Jennifer filed what she captioned a
“Complaint to Modify and for Contempt.” This pleading alleged
that Corey had willfully failed to hold her harmless from the
mortgage debt on the home, and it asked that he be held in
contempt of court. The pleading also sought to hold Corey in
contempt of court for failing to pay court-ordered childcare
expenses, and it requested a modification of Corey’s child sup-
port obligation due to a material change in circumstances.
   The court set trial on all matters for May 1, 2019. Both
parties appeared with counsel and offered evidence. We sum-
marize only that evidence pertaining to the hold harmless pro-
vision, as no error has been assigned to the trial court’s rulings
on child support or childcare expenses.

                    (a) Jennifer’s Testimony
   Jennifer testified that after the decree was entered, she
signed a quitclaim deed on the home, but her name was still
                              - 893 -
         Nebraska Supreme Court Advance Sheets
                  306 Nebraska Reports
                        BRAUN v. BRAUN
                        Cite as 306 Neb. 890
on the mortgage note. Jennifer admitted she had not been
required to make any mortgage payments on the home since
the decree was entered, but she testified that Corey had failed
to remain current on the mortgage and that his failure was
adversely affecting her finances. She explained that she had
received late notices and foreclosure notices from the mortgage
company and that her credit report showed she was delinquent
on the home mortgage.
   Jennifer testified her credit score had historically been
around 780 or 800, and in the summer of 2018 she had an
application for a credit card rejected, which had not happened
before. She checked her credit score and learned it had fallen to
620 or 640, despite the fact she was current on the only debts
she had. She also testified she was unable to qualify for a loan
to purchase a home because of her current credit score.
   Jennifer testified she had repeatedly asked Corey to refi-
nance the mortgage in his own name, but he told her he was
not able to qualify for refinancing due to his previous bank-
ruptcies and his low credit score. According to Jennifer, the
mortgage company had not yet foreclosed on the home, but
Corey had been “dancing around foreclosure.” Jennifer testi-
fied the mortgage company had “set up multiple payment plans
with him, he makes a couple payments, and then he stops mak-
ing payments, and then he calls in and they make new payment
arrangements, he’ll make a couple payments, and then he fails.
It’s a cycle.”
   Jennifer believed the only way to protect her finances from
Corey’s chronic failure to keep the mortgage debt current
was to get her name off the mortgage altogether. She asked
that Corey be ordered to refinance the home in his name only
and that if he was not able to refinance, he be ordered to sell
the home.
                     (b) Corey’s Testimony
   Corey testified the balance on the mortgage note was close
to $70,000, and he agreed that Jennifer remained obligated on
that note. He testified that about a year earlier, he attempted
                              - 894 -
         Nebraska Supreme Court Advance Sheets
                  306 Nebraska Reports
                        BRAUN v. BRAUN
                        Cite as 306 Neb. 890
to refinance the mortgage on the home but was unable to get
a loan because of his credit score. He had not attempted to
refinance recently, because his credit score had not improved.
   Corey estimated the current value of the home was around
$120,000 to $150,000, and he agreed he would be able to
sell the home for more than is owed on the mortgage. Corey
admitted that since 2018, he had been behind on the mortgage
payments, but stated that a few months before trial he had
arranged a new payment plan and was current on payments
under that new plan. He testified the mortgage was still in
arrears by about $4,900.
   Corey did not want to sell the home, but he did not think
it was possible for him to refinance the mortgage debt imme-
diately. He testified he had obtained a good-paying job and
expected to be able to keep making payments under the new
payment plan, and he was hopeful that he could refinance the
home “sooner [rather] than later.”
   Corey admitted the decree required him to hold Jennifer
harmless from any debt associated with the home. And he gen-
erally understood the hold harmless provision meant that no
harm should come to Jennifer as a result of the debts he was
ordered to pay, including harm related to a reduction in her
credit rating. But Corey generally testified that he did not think
his delinquency on the mortgage had harmed Jennifer.
                    3. Trial Court’s Order
   On May 16, 2019, the trial court entered an order ruling
on all pending matters. As relevant to the contempt issues on
appeal, the court expressly found that Corey had consistently
failed to keep the mortgage current and that his conduct had
resulted in financial damage to Jennifer in the form of damage
to her credit.
   The court described the “more difficult” question as whether
Corey’s conduct amounted to a violation of the hold harm-
less provision in the decree. The court framed the question
as whether financial harm or injury, such as damage to one’s
credit, is the type of harm that falls within the scope of a
                                  - 895 -
            Nebraska Supreme Court Advance Sheets
                     306 Nebraska Reports
                            BRAUN v. BRAUN
                            Cite as 306 Neb. 890
standard hold harmless provision in a divorce decree where
one party has been ordered to assume responsibility for a joint
debt. The court noted it had located no reported decisions
in Nebraska addressing the issue, but that other jurisdictions
have held that a hold harmless provision includes protection
from financial injury such as damage to credit. The court dis-
cussed two cases in particular: Long v. McAllister-Long 1 and
Eaton v. Grau. 2
   In Long, the wife sought to hold her former husband in
contempt of court for violating a provision in the decree
requiring him “to hold [the wife] harmless” from the joint
mortgage debt and other joint debts. 3 The wife alleged the
husband’s failure to make timely payments had a harmful
effect on her credit rating. The Tennessee appellate court
considered the plain language and broad purpose of the hold
harmless provision, and concluded it was intended to operate
as both indemnity against liability and indemnity against loss.
It therefore concluded the hold harmless provision “required
[the husband] to pay these debts in a timely manner in order to
prevent [the wife] from being harmed,” and it reasoned “risk-
ing adverse effects on her credit rating” was a type of harm
that was to be prevented. 4
   In Eaton, the parties’ stipulated divorce decree awarded the
marital home to the husband and made him solely responsible
for paying the joint mortgage debt. 5 The decree included a hold
harmless provision which ordered the husband to “‘indemnify
and hold the Wife harmless from any and all further obliga-
tions from ownership of the property,’” but it did not require
the husband to refinance in his own name. 6 The wife later
1
    Long v. McAllister-Long, 221 S.W.3d 1 (Tenn. App. 2006).
2
    Eaton v. Grau, 368 N.J. Super. 215, 845 A.2d 707 (2004).
3
    Long, supra note 1, 221 S.W.3d at 6.
4
    Id. at 12.
5
    Eaton, supra note 2.
6
    Id. at 219, 845 A.2d at 710 (emphasis omitted).
                               - 896 -
          Nebraska Supreme Court Advance Sheets
                   306 Nebraska Reports
                         BRAUN v. BRAUN
                         Cite as 306 Neb. 890
moved to modify the decree to require the husband to either
refinance the mortgage or sell the home, alleging he had failed
to keep the mortgage current and foreclosure proceedings had
damaged her credit rating. The trial court denied her modifica-
tion request, reasoning that although a hold harmless provision
could be broad enough to protect against damage to credit
scores, the language of the provision selected by the parties
was narrow and only encompassed protection from “‘further
obligations.’” 7 On appeal, the New Jersey appellate court
affirmed, reasoning that even if it assumed the hold harmless
provision protected against financial harm to the wife’s credit
rating, she had failed to prove she sustained such injury and
thus had not shown exceptional circumstances as would entitle
her to modification of the decree.
   In the instant case, the trial court found the plain language
of the hold harmless provision in the decree was not materially
different from that considered in Long, and it concluded:
      Corey’s obligation [under the hold harmless provision]
      plainly extends beyond making mortgage payments so
      that Jennifer does not become obligated to make pay-
      ments herself; it also requires Corey to fulfill the parties’
      joint obligations under the mortgage so as to prevent
      other fiscal injury that might foreseeably befall Jennifer,
      such as the kind of damage to her credit that could result
      from payments that are chronically late.
   The court found Corey in willful contempt of court “for
failing to make timely payments on the mortgage he was
ordered to pay” because such conduct “failed to hold Jennifer
harmless on that debt which has resulted in severe damage to
[her] credit rating.” It sentenced Corey to serve 10 days in jail,
commencing on September 3, 2019 (approximately 4 months
in the future), and it preapproved work release so that Corey
could “continue to work and pay his bills.” Finally, the court’s
order provided that Corey could purge himself of contempt and
avoid the jail sentence if, on or before September 3, 2019, he
7
    Id.
                                  - 897 -
            Nebraska Supreme Court Advance Sheets
                     306 Nebraska Reports
                            BRAUN v. BRAUN
                            Cite as 306 Neb. 890
refinanced or sold the home “so further damage to Jennifer’s
credit does not occur.”
   Corey timely appealed, and we moved the case to our docket
on our own motion.

              II. ASSIGNMENTS OF ERROR
   Corey assigns, summarized, that the trial court erred in
determining his conduct violated the hold harmless provision
and in ordering that he either refinance the mortgage or sell
the home.

                  III. STANDARD OF REVIEW
   [1] In a civil contempt proceeding where a party seeks reme-
dial relief for an alleged violation of a court order, an appellate
court employs a three-part standard of review in which (1) the
trial court’s resolution of issues of law is reviewed de novo, (2)
the trial court’s factual findings are reviewed for clear error,
and (3) the trial court’s determinations of whether a party is in
contempt and of the sanction to be imposed are reviewed for
abuse of discretion. 8
   [2] The meaning of a divorce decree presents a question
of law, in connection with which an appellate court reaches
a conclusion independent of the determination reached by the
court below. 9

                        IV. ANALYSIS
                 1. Mortgage Company Not
                     Indispensable Party
   Before considering the merits of Corey’s assignment of
error, we quickly dispense of a preliminary jurisdictional issue
he raised in his brief. Corey suggests the contempt order
affected the rights of the mortgage company, thereby making
8
    State on behalf of Mariah B. &amp; Renee B. v. Kyle B., 298 Neb. 759, 906
    N.W.2d 17 (2018).
9
    Bayne v. Bayne, 302 Neb. 858, 925 N.W.2d 687 (2019).
                                   - 898 -
             Nebraska Supreme Court Advance Sheets
                      306 Nebraska Reports
                             BRAUN v. BRAUN
                             Cite as 306 Neb. 890
the mortgage company an indispensable party to the contempt
proceedings. He argues that because the mortgage company
was not made a party, both the trial court and this court lack
jurisdiction.
   [3] If necessary parties to a proceeding are absent, the dis-
trict court has no jurisdiction to determine the controversy. 10
But there is no merit to Corey’s suggestion that the mortgage
company was an indispensable party to the contempt proceed-
ings here.
   [4] An indispensable party is one whose interest in the sub-
ject matter of the controversy is such that the controversy can-
not be finally adjudicated without affecting the indispensable
party’s interest, or which is such that not to address the interest
of the indispensable party would leave the controversy in such
a condition that its final determination may be wholly incon-
sistent with equity and good conscience. 11 Here, the mortgage
company’s interests and rights are not affected, changed, or
modified by final adjudication of the contempt controversy in
this case, and the mortgage company’s presence as a party was
not necessary either to resolve whether Corey was in contempt
or to fashion an appropriate remedy in the event he was found
in contempt. The mortgage company was not an indispensable
party to the contempt proceedings, and Corey’s argument to the
contrary is meritless.

               2. No Abuse of Discretion in
                 Contempt Determination
                       or Purge Plan
  Corey’s single assignment of error is broadly drafted, and
we understand it to be challenging both the trial court’s deter-
mination that he was in contempt and its determination of the
sanction to be imposed. We review both such determinations
10
     American Nat. Bank v. Medved, 281 Neb. 799, 801 N.W.2d 230 (2011).
11
     Pan v. IOC Realty Specialist, 301 Neb. 256, 918 N.W.2d 273 (2018).
                                     - 899 -
             Nebraska Supreme Court Advance Sheets
                      306 Nebraska Reports
                              BRAUN v. BRAUN
                              Cite as 306 Neb. 890
for an abuse of discretion. 12 But first, we address a legal ques-
tion concerning the meaning of the hold harmless provision.
                   (a) Hold Harmless Provision
   [5] A decree is a judgment, and once a decree for dissolution
becomes final, its meaning, including the settlement agreement
incorporated therein, is determined as a matter of law from the
four corners of the decree itself. 13 Because the meaning of the
hold harmless provision in the decree presents a question of
law, we must reach a conclusion independent of the determina-
tion reached by the trial court. 14
   In this case, neither party contends the hold harmless provi-
sion is ambiguous, and we agree it is not. Nor do the parties
necessarily disagree with the trial court’s interpretation of the
scope and meaning of the hold harmless agreement. We review
that interpretation here, however, because this court has not yet
addressed the scope of a standard hold harmless provision in a
divorce decree.
   The issue is not one which has generated much disagree-
ment among courts to have considered it. Generally speaking,
courts agree the scope of a hold harmless provision in a dis-
solution decree should be determined based on its plain lan-
guage. 15 While some language can limit the scope of the hold
harmless provision, 16 language that broadly requires one party
to assume responsibility for a joint debt and hold the other
harmless from the debt generally obligates the one responsible
12
     See State on behalf of Mariah B. &amp; Renee B., supra note 8.
13
     Gomez v. Gomez, 303 Neb. 539, 930 N.W.2d 515 (2019).
14
     See Bayne, supra note 9.
15
     See, e.g., Flanagan v. duMont, 203 Vt. 503, 159 A.3d 99 (2016); Gardner
     v. Gardner, 294 P.3d 600 (Utah App. 2012); Long, supra note 1; Eaton,
     supra note 2.
16
     See, e.g., Flanagan, supra note 15, 203 Vt. at 506, 159 A.3d at 101     (finding provision in decree requiring husband to indemnify and hold wife
     harmless “‘against the payment of any monies’” did not obligate husband
     until wife made payment).
                                     - 900 -
             Nebraska Supreme Court Advance Sheets
                      306 Nebraska Reports
                              BRAUN v. BRAUN
                              Cite as 306 Neb. 890
for the debt to prevent financial harm to the other resulting
from late or delinquent payments on the debt, including dam-
age to the other’s credit rating. 17
   Here, the plain language of the decree contained no limit-
ing language, and it ordered Corey to pay the joint mortgage
debt and to “hold [Jennifer] harmless from any debt associated
with the property.” We therefore agree with the trial court that
the plain language of the hold harmless provision in this case
required Corey to protect Jennifer from financial harm or dam-
age related to the joint mortgage debt on the home, including
harm to her credit rating resulting from Corey’s failure to pay
the debt as ordered. 18

                   (b) Contempt Determination
   Corey does not dispute the court’s factual findings that he
was significantly behind on the monthly mortgage payments.
He does, however, argue “there was no evidence at trial that
[his] actions had actually harmed” Jennifer. 19 We understand
this to suggest the evidence did not support the trial court’s
factual finding that Corey’s late mortgage payments resulted
in financial damage to Jennifer’s credit rating. And we reject
this suggestion, as there was ample support for this finding in
the record.
   Jennifer testified that her credit rating had historically been
780 to 800 and that in the summer of 2018, she learned it had
fallen to 620 or 640. She attributed the drop solely to the fact
17
     See, e.g., Gardner, supra note 15, 294 P.3d at 602 (provision in divorce
     decree ordering wife to “‘assume and pay and hold [husband] harmless
     from’” mortgage debt required wife to protect against financial harm such
     as damage to husband’s credit resulting from chronically late payments);
     Long, supra note 1; Eaton, supra note 2.
18
     Accord Dennis v. Dennis, 6 Neb. App. 461, 574 N.W.2d 189 (1998)
     (finding former husband violated hold harmless agreement by failing
     to pay on joint mortgage and wife suffered financial harm when family
     loaned her money to avoid foreclosure).
19
     Brief for appellant at 7.
                                    - 901 -
             Nebraska Supreme Court Advance Sheets
                      306 Nebraska Reports
                              BRAUN v. BRAUN
                              Cite as 306 Neb. 890
that Corey was chronically delinquent on the joint mortgage,
reasoning she was current on all debts she held in her own
name. We find no clear error in the trial court’s factual finding
that Corey’s chronic delinquency on the joint mortgage harmed
Jennifer’s credit rating.
   The only other argument Corey directs to the court’s deter-
mination of contempt is a statement in his reply brief that this
is “a case of first impression.” 20 We understand this to be a
suggestion that at the time Corey was failing to make payments
on the mortgage debt, the scope of his responsibility under the
hold harmless provision was not clear, and so his violation of
that provision should not have been found to be willful.
   [6,7] Willful disobedience is an essential element of civil
contempt, and in this context, “willful” means the violation
was committed intentionally, with knowledge that the act vio-
lated the court order. 21 Willfulness is a factual determination to
be reviewed for clear error. 22
   Corey does not claim he did not know or did not fully
understand what he was required to do under the terms of the
decree and the hold harmless provision. In fact, he specifically
testified to his understanding in that regard during the trial:
         Q Do you agree the hold harmless provision of your
      decree of dissolution means that no harm should come to
      Jennifer as a result of debts you were ordered to pay?
         A That’s how I understand it, yes.
         Q And you agree that, among other things, lowering
      her credit score would be a harm that would be — have
      come to her?
         A Yes.
   Given the plain language of the hold harmless provision as
discussed above and Corey’s admitted understanding of the
scope of his responsibility under that provision, we find no
20
     Reply brief for appellant at 9.
21
     Krejci v. Krejci, 304 Neb. 302, 934 N.W.2d 179 (2019).
22
     State on behalf of Mariah B. &amp; Renee B., supra note 8.
                                    - 902 -
             Nebraska Supreme Court Advance Sheets
                      306 Nebraska Reports
                              BRAUN v. BRAUN
                              Cite as 306 Neb. 890
clear error in the trial court’s finding that Corey willfully vio-
lated the hold harmless provision by being chronically delin-
quent on the mortgage debt. And to the extent Corey’s assign-
ment of error can fairly be understood to challenge the court’s
determination of contempt, we find no abuse of discretion.

                    (c) Sanction Determination
   Corey assigns it was error for the trial court to “require[]
[him] to refinance [the] mortgage or sell the property.” The
only argument he presents in this regard is the suggestion
that “[b]y requiring [Corey] to refinance or sell, the Court
modified the Decree on its own with no request from a party
of interest and with no evidence regarding a material change of
circumstances not contemplated at the time of the divorce.” 23
Corey’s argument misunderstands the nature of the court’s
determination.
   This was a civil contempt proceeding in which Jennifer
sought remedial relief for Corey’s violation of the hold harm-
less provision in the decree. 24 The trial court found Corey had
violated the provision and, as a sanction, ordered him to serve
10 days in jail.
   [8-10] In a civil contempt proceeding, for the sanction to
retain its civil character, the contemnor must, at the time the
sanction is imposed, have the ability to purge the contempt
by compliance and either avert punishment or, at any time,
bring it to an end. 25 The sanction in a civil contempt proceed-
ing is both remedial and coercive, and when a jail sentence
is imposed as a sanction, the contemnor must carry the keys
to their jail cells in their own pocket. 26 In other words, a jail
sanction in a civil contempt proceeding is conditioned upon
the contemnor’s continued noncompliance with the court order,
23
     Brief for appellant at 7.
24
     See Krejci, supra note 21.
25
     Sickler v. Sickler, 293 Neb. 521, 878 N.W.2d 549 (2016).
26
     See id.                                - 903 -
               Nebraska Supreme Court Advance Sheets
                        306 Nebraska Reports
                          BRAUN v. BRAUN
                          Cite as 306 Neb. 890
and the purge plan must allow the contemnor to mitigate or
avoid the sanction through compliance. 27
   Here, Corey has not challenged the 10-day jail sanction
imposed by the court, and to the extent he challenges the purge
plan directing him either to refinance the mortgage in his own
name or to sell the home, we find no abuse of discretion. This
portion of the order allows Corey, through compliance with
the hold harmless provision, to purge himself of contempt and
avoid serving the 10-day jail sentence imposed as a sanction.
The order was not a modification of the decree, as Corey sug-
gests. The sanction imposed was both remedial and coercive in
nature, and it was not an abuse of discretion.

                        V. CONCLUSION
   Finding no clear error in the court’s factual findings and no
abuse of discretion in either the court’s determination of con-
tempt or the imposition of the sanction in this case, we affirm
the district court’s order.
                                                     Affirmed.
27
     See id.
